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UNITED STATES DISTRICT CoURFi"EAD al
Western District of Tennessee 05 lull “’3 M "= 53

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Ct.EnK.Pt:.e. hist oT.
UNITED STATES OF AMERICA W.D‘ O:~ TN, tvtEM¢'HIS
Plaintiff,
VS Case Number CR 2:01CR202]2-Ol-D
JAMES HUTTO
Defendant.

JUDGMENT AND COMMITMENT ORDER

ON REVOCATION OF PROBATION
(For Offenses Committed On or After November 1, 1987)

The defendant, J ames Hutto, was represented by G. Coble Caperton, Esq.

lt appearing that the defendant, who was sentenced on October 3] , 2001 , in the above styled cause and was
placed on Probation for a period of five (5) years, has violated the terms of Probation.

lt is hereby ORDERED and ADJUDGED that the Probation of the defendant be revoked and that the
defendant be committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of six (6)
months in a Half-Way House with execution of sentence to be deferred until after December 2, 2005.

Furthermore, no additional supervised release shall be imposed.

The defendant is allowed to report on his own to the designated facility.

. . ~“"
Signed this the g day of June, 2005.

RNICE B. DONALD
UNITED STATES DISTRICT JUDGE
Defendant's SS No.: XXX-XX-XXXX
U.S. Marshal No.: 17931-076
Defendant's Date of Birth: 08/17/1979

Defendant‘s Mailing Address: 7533 Cordova Club Drive. Cordova. TN 38l06

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:0]-CR-202]2 was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

